
873 N.E.2d 938 (2007)
PEOPLE State of Illinois, respondent,
v.
Tommy THOMPSON, petitioner.
No. 103706.
Supreme Court of Illinois.
September 26, 2007.
In the exercise of this Court's supervisory authority, the Appellate Court, First District, is directed to vacate its judgment in People v. Thompson, 368 Ill.App.3d 348, 306 Ill.Dec. 525, 857 N.E.2d 924 (2006). The appellate court is directed to reconsider its judgment in light of People v. Vincent, 226 Ill.2d 1, 312 Ill.Dec. 617, 871 N.E.2d 17 (2007), to determine if a different result is warranted.
